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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



WILLIAM C. TOTH JR., ET. AL.                :        No. 1:22-cv-00208-JPW
                                            :
                          Plaintiffs        :
                                            :
    v.                                      :
LEHIGH M. CHAPMAN, ET. AL.                  :
                                            :
                                            :
       Defendant


                     NOTICE OF VOLUNTARY DISMISSAL
TO THE CLERK:
      Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), please mark the above-referenced

matter dismissed without prejudice.



Dated: March 28, 2022                           Respectfully submitted.

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                                                Counsel for Plaintiffs
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                            CERTIFICATE OF SERVICE


       I hereby certify the foregoing has been filed electronically and is available for
viewing and downloading from the Electronic Case Filing System of the United States
District Court for the Eastern District of Pennsylvania. I further hereby certify that,
in accordance with Fed. R. Civ. P. 5, service has been made upon counsel of record
via ECF.


Date: March 28, 2022                           /s/ Walter S. Zimolong, Esquire




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